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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


       UNITED STATES, et al.,

                                      Plaintiffs,

              vs.                                               No. 1:23-cv-00108-LMB-JFA

       GOOGLE LLC,

                                      Defendant.



                               GOOGLE LLC’S NOTICE OF FILING

             As directed by the Court (Dkt. Nos. 547 & 871) Defendant Google LLC (“Google”)

      has objected to the public use of certain trial exhibits (Dkt. No. 985). Notice is given of the

      filing of REDACTED EXHIBITS attached hereto.
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      Dated: July 26, 2024.                Respectfully submitted,

      Of Counsel for Google LLC:           /s/ Craig C. Reilly
                                           Craig C. Reilly (VSB # 20942)
      Eric Mahr (pro hac vice)             THE LAW OFFICE OF
      Andrew Ewalt (pro hac vice)           CRAIG C. REILLY, ESQ.
      Julie Elmer (pro hac vice)           209 Madison Street, Suite 501
      Justina Sessions (pro hac vice)      Alexandria, VA 22314
      Lauren Kaplin (pro hac vice)         Telephone: (703) 549-5354
      Jeanette Bayoumi (pro hac vice)      Facsimile: (703) 549-5355
      Claire Leonard (pro hac vice)        craig.reilly@ccreillylaw.com
      Sara Salem (pro hac vice)
      Tyler Garrett (VSB # 94759)
      FRESHFIELDS BRUCKHAUS                Karen L. Dunn (pro hac vice)
      DERINGER US LLP                      Jeannie H. Rhee (pro hac vice)
      700 13th Street, NW, 10th Floor      William A. Isaacson (pro hac vice)
      Washington, DC 20005                 Joseph Bial (pro hac vice)
      Telephone: (202) 777-4500            Amy J. Mauser (pro hac vice)
      Facsimile: (202) 777-4555            Martha L. Goodman (pro hac vice)
      eric.mahr@freshfields.com            Bryon P. Becker (VSB #93384)
                                           Erica Spevack (pro hac vice)
      Daniel Bitton (pro hac vice)         PAUL, WEISS, RIFKIND, WHARTON &
      AXINN, VELTROP & HARKRIDER LLP       GARRISON LLP
      55 2nd Street                        2001 K Street, NW
      San Francisco, CA 94105              Washington, DC 20006-1047
      Telephone: (415) 490-2000            Telephone: (202) 223-7300
      Facsimile: (415) 490-2001            Facsimile (202) 223-7420
      dbitton@axinn.com                    kdunn@paulweiss.com

      Bradley Justus (VSB # 80533)
      David Pearl (pro hac vice)           Meredith Dearborn (pro hac vice)
      Allison Vissichelli (pro hac vice)   PAUL, WEISS, RIFKIND, WHARTON &
      AXINN, VELTROP & HARKRIDER LLP       GARRISON LLP
      1901 L Street, NW                    535 Mission Street, 24th Floor
      Washington, DC 20036                 San Francisco, CA 94105
      Telephone: (202) 912-4700            Telephone: (646) 432-5100
      Facsimile: (202) 912-4701            Facsimile: (202) 330-5908
      bjustus@axinn.com                    mdearnborn@paulweiss.com



                                           Counsel for Google LLC
